Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 1 of 18 PageID: 650
Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 2 of 18 PageID: 651
Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 3 of 18 PageID: 652
Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 4 of 18 PageID: 653
Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 5 of 18 PageID: 654
Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 6 of 18 PageID: 655
Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 7 of 18 PageID: 656
Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 8 of 18 PageID: 657
Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 9 of 18 PageID: 658
Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 10 of 18 PageID: 659
Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 11 of 18 PageID: 660
Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 12 of 18 PageID: 661
Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 13 of 18 PageID: 662
Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 14 of 18 PageID: 663
Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 15 of 18 PageID: 664
Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 16 of 18 PageID: 665
Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 17 of 18 PageID: 666
Case 2:08-cr-00327-SRC   Document 186   Filed 11/01/08   Page 18 of 18 PageID: 667
